      Case: 1:08-cr-00435-JG Doc #: 105 Filed: 02/10/12 1 of 2. PageID #: 371




                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                      )            CASE NO. 1:08CR00435-003
                                               )
       Plaintiff,                              )            JUDGE: JAMES S. GWIN
                                               )
vs.                                            )            ORDER
                                               )
CEDRICA JOHNSON,                               )
                                               )
       Defendant.                              )



       This matter was heard on February 9, 2012, upon the request of the United States Pretrial

and Probation Office for a finding that defendant had violated the conditions of her supervised

release.. The defendant was present and represented by Attorney Debra Hughes.

       The violation report was referred to Magistrate Judge Kenneth S. McHargh on June 24,

2011 [Doc. 97] and a Report and Recommendation was issued on January 18, 2012 [Doc. 102].

No objections were filed to the Report and Recommendation.

       The Court, finding that no objection to the Report and Recommendation had been filed

by plaintiff or defendant, adopted same and found that defendant had violated the conditions of

supervised release as follows:

               1) failure to report as directed;

               2) failure to report change of address;

               3) failure to submit monthly supervision reports

               4) new law violation;
      Case: 1:08-cr-00435-JG Doc #: 105 Filed: 02/10/12 2 of 2. PageID #: 372




              5) failure to notify supervising officer of new arrest.

The Court noted the violations to be Grade C, defendant’s Criminal History Category to be I and

the recommended guideline range to be 3 to 9 months.

       Defendant was sentenced to the Bureau of Prisons for a period of 9 months with credit

for time served which the Court understood to be 7 months. Upon release from incarceration

defendant shall be placed on supervised release for a period of 2 years under the same conditions

earlier imposed.

       The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.



Dated: February 10, 2012                             s/ James S. Gwin
                                                     JAMES S. GWIN
                                                     UNITED STATES DISTRICT JUDGE
